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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                                          CASE NO. 3:17-cv-00072
                                        Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                        Defendants.



           As a measure to facilitate efficient preparation for this case for trial and considering the

   state of the COVID-19 pandemic in this District and nationally, the Court hereby ORDERS the

   parties to MEET AND CONFER regarding witnesses who may be called upon to testify at trial

   remotely by videoconference.

           Each party SHALL FILE, no later than September 20, 2021 at 5:00 p.m., an amended

   witness list which reflects whether the parties have agreed that such witnesses’ testimony may be

   conducted remotely by videoconference. If any party has not agreed to any such witness’s

   remote testimony, the objecting party/parties shall be noted, and objections attached thereto. The

   Court will also DIRECT the parties to submit with such amended witness lists any proposed

   findings of fact as would support a decision to permit remote witness testimony (e.g., relating to

   the prevalence of COVID-19, or any facts specific to the witness). If any health-related reasons

   for remote testimony are to be noted for any witness(es), the Court will grant any party leave to

   file a partially redacted version of the witness list under seal.
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          The Court urges counsel for all parties to undertake their best efforts to seek to include

   pro se litigants including incarcerated Defendant Christopher Cantwell, proceeding pro se, in

   such conference(s) between the parties, and to be prepared to document steps coordinating such

   conference(s).

          It is so ORDERED.

          The Clerk of Court is directed to send a certified copy of this Order to the parties.

          Entered this 10th     day of September, 2021.
